
(2008)
In re: BMW REVERSE TRANSMISSION PRODUCTS LIABILITY LITIGATION.
Daniel J. Corbett v. BMW of North America, LLC, D. Connecticut, C.A. No. 3:07-1273.
David Contino, et al. v. BMW of North America, LLC, D. New Jersey, C.A. No. 2:07-5755.
MDL No. 1922.
United States Judicial Panel on Multidistrict Litigation.
April 9, 2008.

ORDER DENYING TRANSFER
JOHN G. HEYBURN II, Chairman.
Before the entire Panel[*]: Plaintiffs in both actions have moved, pursuant to 28 U.S.C. § 1407, for coordinated or consolidated pretrial proceedings of this litigation in the District of New Jersey. Defendant BMW of North America, LLC (BMW) opposes centralization.
This litigation currently consists of two actions pending in two districts, one each in the District of Connecticut and the District of New Jersey.
After considering all argument of counsel, we find that Section 1407 centralization would not necessarily serve the convenience of the parties and witnesses or further the just and efficient conduct of this litigation. Inasmuch as this litigation involves only two purported class actions with distinctly separate classes, the proponents of centralization have failed to persuade us that any common questions of fact are sufficiently complex and/or numerous to justify Section 1407 transfer in this docket at this time. If additional related actions with overlapping putative classes are filed in the future, centralization might be a possibility at that time. At present, alternatives to transfer exist that can minimize whatever possibilities there might be of duplicative discovery and/or inconsistent pretrial rulings. See, e.g., In re Eli Lilly and Company (Cephalexin Monohydrate) Patent Litigation, 446 F.Supp. 242, 244 (Jud.Pan.Mult.Lit.1978); see also Manual for Complex Litigation, Fourth, § 20.14 (2004). Notably, there is only one common defendant and plaintiffs in both actions share counsel, making coordination by the parties to both actions feasible.
IT IS THEREFORE ORDERED that the motion, pursuant to 28 U.S.C. § 1407, for centralization of these two actions is denied.
NOTES
[*]  Judge Scirica did not participate in the disposition of this matter.

